       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 1 of 21




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                                  .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                         15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                     RESPONSE TO NON-PARTY SHARON CHURCHER’S
                            MOTION TO QUASH SUBPOENA




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            Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 2 of 21




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

I.          CHURCHER IS A MATERIAL FACT WITNESS AND WAS NOT ACTING AS A
            JOURNALIST ..................................................................................................................... 2

      A. Churcher was acting as a friend and advisor to help Plaintiff publish her book, not as
           journalist .......................................................................................................................... 3

      IB. Churcher prompted Plaintiff to fabricate stories regarding Prince Andrew ........................ 4
      IC. Churcher prompted Plaintiff to invent stories regarding Alan Dershowitz ......................... 6
      D. Churcher’s communications with Plaintiff’s Counsel and Law Enforcement are not news-
           gathering activities ........................................................................................................... 7

II.         THE ABSOLUTE PRIVILEGE OF THE SHIELD LAW IS NOT APPLICABLE
            BECAUSE THERE WAS NO EXPECTATION OF CONFIDENTIALITY ..................... 9

III.        THERE IS A COMPELLING NEED FOR CHURCHER’S DOCUMENTS AND
            TESTIMONY .................................................................................................................... 10

      A. The Information Sought from Churcher is Highly Material and Directly Relevant .......... 11

      B. Churcher’s documents and testimony are critical to Ms. Maxwell’s truth defense and
           Plaintiff’s claims ............................................................................................................ 15

      C. Churcher’s information cannot be obtained from an alternative source. ........................... 16

IV.         MS. MAXWELL’S COUNSEL AGREED TO EXTEND THE RETURN DATE FOR
            COMPLIANCE WITH THE SUBPOENA ....................................................................... 17

CERTIFICATE OF SERVICE ..................................................................................................... 19




                                                                         i
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 3 of 21




        Defendant Ghislaine Maxwell files this Response to Non-Party Sharon Churcher’s

Motion to Quash Subpoena, and states as follows:

                                        INTRODUCTION

        Ms. Maxwell seeks documents and testimony from Sharon Churcher (“Churcher”) that

are critical to the defense of this single count defamation case. Churcher is the only person with

much of the information that will prove the truth defense.

        The alleged defamatory press release at issue in this case states:

        “Each time the story is re told it changes with new salacious details about public
        figures and world leaders and now it is alleged by Ms. Roberts that Alan
        Dershowitz is involved in having sexual relations with her, which he denies.

        Ms. Roberts claims are obvious lies and should be treated as such and not publicized as
        news, as they are defamatory.”


        Churcher is the sole source of information regarding the original story told by Plaintiff,

and was the author of the first articles publishing Plaintiff’s claims. She was actively and

personally involved in changing those stories over time and in the creation and addition of new

salacious details about public figures, including the fabrication of Alan Dershowitz’s alleged

sexual relations with Plaintiff.

        Sharon Churcher’s attempt to avoid the subpoena for deposition and production of

documents based on the journalist Shield Law must fail for three reasons. First, much of the

discovery sought is unrelated to any news gathering activities. Rather, Churcher was acting as a

friend and advisor to Plaintiff in Plaintiff’efforts to write and publish a book, sensationalizing her

story in a manner that would best boost the publicity, publication and sales of that work of

fiction. In that role, she helped manufacture some of the stories that have been denied and that

are the central issues in this case.



                                                  1
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 4 of 21




        Second, in certain instances, Churcher was also acting as a source for information to

Plaintiff’s counsel and law enforcement agencies, specifically stating that she was not acting in

her capacity as a journalist. In these instances, she was not gathering news for publication, she

was providing information she had already gathered. Providing this information to third parties

waived any qualified privilege that ever arguably existed.

        Finally, to the extent that any information sought is covered by the qualified protection of

Civil Rights Law § 79–h(c)1, Ms. Maxwell provides a clear and specific showing that the

information is highly material or relevant, critical or necessary to the Ms. Maxwell’s truth

defense, and not obtainable from any alternative source. As such, the Shield Law requires

compliance with the subpoena.

        For these reason, the Motion to Quash should be denied, and Churcher should be

compelled to comply with the Subpoena, as modified herein.

                                                ARGUMENT

I.      CHURCHER IS A MATERIAL FACT WITNESS AND WAS NOT ACTING AS A
        JOURNALIST

        The New York Shield law relied on by Churcher is only applicable where a professional

journalist is asked to disclose information they have received “in the course of gathering or

obtaining news for publication.” 79-h(b) &(c). Much of the information sought from Churcher

has nothing to do with information she gathered or collected in the course of gathering news for

publication. Rather, it relates to advice, information and communications that she had with

Plaintiff in her capacity as a friend and advisor. “Section 79-h is not applicable where the

journalist is called upon, as other citizens, to testify with respect to personal observations”



1 As discussed in detail below, the undersigned has informed Churcher’s counsel that the Subpoena is not intended
to cover any information from confidential sources. Thus, the absolute privilege found in Civil Rights Law § 79–
h(c) is inapplicable

                                                        2
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 5 of 21




Solargen Elec. Motor Car Corp. v. Am. Motors Corp., 506 F. Supp. 546, 551 (N.D.N.Y. 1981);

People v. Dupree, 88 Misc. 2d 791, 796, 388 N.Y.S.2d 1000, 1003 (Sup. Ct. 1976) (“the

privilege does not exist if the newsman is called on to testify what he personally observed.”).

        In this single count defamation action, Churcher is being called as a witness to testify

regarding events that she personally observed and in which she participated. This case is about

whether the information included in the December 2014 Joinder Motion that Ms. Maxwell called

obvious lies were, in fact, lies. These included allegations about Plaintiff’s alleged sexual

interactions with Alan Dershowitz and Prince Andrew, specifically referenced in Ms. Maxwell’s

denial statement. Not only is Churcher aware that the allegations were false, she helped Plaintiff

concoct the stories.

        A.      Churcher was acting as a friend and advisor to help Plaintiff publish her
                book, not as journalist

        As set out in Churcher’s Declaration, she first met with Plaintiff in early 2011 and

conducted a weeks-long series of extensive interviews in person with Plaintiff, leading to a string

of publications in March of 2011. As Churcher stated, her focus in these articles was Prince

Andrew. After the interviews and the publication of the March 2011 stories, Churcher continued

regular contact with Plaintiff as her friend and business advisor. See Menninger Decl. Ex. A, p.

5-7, 10, 12, 19, 24-25, 30, 32, 35, 37-38, 48, 51, 61 & 68. Churcher encouraged Plaintiff to write

a book and to begin pursing publishing contracts as soon as her exclusivity with the Mail on

Sunday was over in May 2011. Menninger Decl. Ex. A, p. 2, 5. Churcher recommended a

variety of ghost writers and agents to Plaintiff for this purpose, all as Plaintiff’s friend, advisor

and advocate. See Menninger Decl. Ex. A, p. 5, 9, 10, 12, 15, 25, 30, 32, 35, 37, 38, 42, 48, 50

&60. Churcher also initiated contact with the US Attorney’s office and FBI on behalf of




                                                   3
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 6 of 21




Plaintiff, setting up their initial meeting where Churcher planned to be present at that meeting

“for support,” not in her capacity as a journalist. Menninger Decl. Ex. A, p. 3.

        Plaintiff did begin writing her book and sent versions of her manuscript to Churcher for

her review and comment – again, in her capacity as a friend, not as a journalist. Menninger Decl.

Ex. A, p. 59. Churcher also had extensive discussion with Plaintiff on the best strategies for

getting interest in her book, including determining when to “name names” Menninger Decl. Ex.

A, p. 63. She strategized with Plaintiff and Plaintiff’s counsel, Brad Edwards, on how to use a

potential Vanity Fair article as book publicity by dropping names of famous politicians, claiming

she was sex trafficked, but refusing to provide additional information because she was writing a

book. Menninger Decl. Ex. A, p. 51-58.

        Through some of these communications between Plaintiff and Churcher, it is obvious that

stories in the book – later to become allegation in the Joinder Motion – were created and

supported based on the suggestions of Churcher. They were not reported by Plaintiff in her

initial interview, or in Churcher’s initial publications, because they did not occur.

        B.     Churcher prompted Plaintiff to fabricate stories regarding Prince Andrew

        In 2011, when Churcher first reported on Plaintiff’s story after having just spent weeks

interviewing Plaintiff in Australia, and with a particular focus on reporting Plaintiff’s meeting

Prince Andrew, Churcher specifically reported: “[t]here is no suggestion that there was any

sexual contact between Virginia and Andrew, or that Andrew knew that Epstein paid her to have

sex with his friends.” Churcher Decl., Ex. 2, p, 6/34. Shortly thereafter, on March 20, 2011,

Churcher emailed Plaintiff explaining to her how she can corroborate a story to tell the FBI –

that she was “given to” Prince Andrew. Menninger Decl., Ex. A, p. 8. Churcher provided an

explanation for how Plaintiff can substantiate the claim – a claim not previously made by


-
Plaintiff.
                                                  4
        Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 7 of 21




         The December 2014 Joinder Motion is the first publication of alleged sexual interaction

between Plaintiff and Prince Andrew. At some point between March 2011 and January 2015,

Churcher requested that Plaintiff handwrite a diary describing her alleged sexual encounters with

Prince Andrew. Attached to the Churcher Declaration at Exhibit 7 is an Article subtitled “Diary

Entries Of ‘Teen Sex Slave’ Detail Sorted Hook-Up With Prince Andrew – In Her Own

Handwriting.” The article claims to print excerpts of a contemporaneous journal kept by

Plaintiff when she was 17, stating “In a bombshell world exclusive, RadarOnline.com has

exclusively obtained the secret journal of the then 17-year-old employed to have sex with

billionaire pedophile Jeffrey Epstein and his rich and powerful pals — and it’s packed with

scandalous claims about her illicit trysts, including with Andrew, the fifth in line to the British

throne.” Churcher Decl. Ex. 7. This alleged 24 page “diary” or “journal” was a completely

fabricated document handwritten by Plaintiff at the request and direction of Churcher. See

Menninger Decl. Ex. B, p. 207-208; 226-2312 Plaintiff maintains she did not keep a copy of this

handwritten “diary,” leaving the only source of the complete document and information about its

creation with the person who asked for the document’s fabrication – Churcher.3

         If there was no suggestion of sexual contact with Prince Andrew as of March 2, 2011,

how and when was this story first created? From the email correspondence, it appears that

Churcher was directly involved in inventing this story during the course of creating stories for a

book – stories that would generate the interest of publishers. Churcher’s testimony on how the

Prince Andrew allegation was first created is direct evidence in this case.


2
  In actuality, the only journal Plaintiff ever maintained that might contain relevant information was purposefully
destroyed by Plaintiff in a bonfire in 2013, at a time when she was represented by counsel and actively trying to
insert herself as a Plaintiff in the CVRA case. Menninger Decl., Ex. B, p. 205-209.
3
  To the extent Churcher argues that the creation of this “diary” was somehow part of the news “gathering” process,
it was clearly not confidential, and the test requiring production of the non-published potions, discussed below, is
met – the information is highly relevant, critical to the defense, and available form no other source.

                                                          5
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 8 of 21




        C.       Churcher prompted Plaintiff to invent stories regarding Alan Dershowitz

        Churcher’s direct involvement in creating the allegations in the Joinder Motion regarding

Plaintiff’s alleged sexual interactions with Alan Dershowitz – or even the knowledge of Alan

Dershowitz’ name – is even more apparent. Prior to the December 2014 joinder Motion, there is

not a single mention of Mr. Dershowitz in any pleading related to Plaintiff. In Churcher’s March

2011 publications, directly after she interviewed Plaintiff, there was not a single mention of Mr.

Dershowitz. It is quite apparent that Plaintiff had never met Mr. Dershowitz or reported that he

was a person with whom she had had sexual relations.

        In the May/June 2011 timeframe, Plaintiff and Churcher’s communications relate

primarily to Plaintiff’s draft of her novel, hiring a ghostwriter, and requests for advice on how to

manage agent and book publication deals. Menninger Decl. Ex. A. As a part of those

communications, on May 10, 2011, Plaintiff writes Churcher:

        “Hello gorgeous, I hope this message comes to you on a bright, sunny day!!! I took your
        advice about what to offer Sandra [a ghostwriter] and she accepted. We’re drawing up a
        contract through her agent right now and getting busy to meet my deadline. Just
        wondering if you have any information on you from when you and I were doing
        interviews about the J.E. story. I wanted to put the names of these assholes, oops I meant
        to say, pedo’s, that J.E. sent me to. With everything going on my brain feels like mush
        and it would be a great deal of help!...”4

In an e-mail dated May 11, 2011, Churcher replies to Plaintiff:

        “Don't forget Alan Dershowitz... JE' s buddy and lawyer -good name for your pitch as he
        repped Claus von Bulow and a movie was made about that case ... title was Reversal of
        Fortune. We all suspect Alan is a pedo and tho no proof of that, you probably met him
        when he was hanging put w JE”

Menninger Decl. Ex. A, p. 26-28.




4 This email raises its own issues. If Plaintiff was providing her own personal information regarding what allegedly
happened to her, why would she require information from Churcher from their interviews about whom she had been
‘trafficked” to. What information did Churcher provide to Plaintiff that was the basis for Plaintiff’s various
allegations, as opposed to being factual information based on events that happened to Plaintiff?

                                                         6
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 9 of 21




       Sometime thereafter, Plaintiff did insert Mr. Dershowitz’s name in her book manuscript

but she did not allege therein that she had any sexual relations with him, rather she simply

referred to him as a business acquaintance of Mr. Epstein’s. It was not until the Joinder Motion

in December 2014 that she claimed she engaged in sexual relations with Mr. Dershowitz,

something he adamantly and publicly denied.

       At the heart of this case is the question of whether Ms. Maxwell defamed Plaintiff by

calling her a liar. Of course, if Plaintiff is a liar, then there is no defamation. Churcher had

direct and actual knowledge that Plaintiff is a liar and helped orchestrate specific and incredible

public lies in concert with Plaintiff relating to Prince Andrew and Alan Dershowitz. In both of

these instances, Churcher is not acting as a journalist – she is acting as a friend and advisor to

Plaintiff on how to drop names – truth be damned – to try to sell Plaintiff’s book. As Churcher


                                                                                            -
puts it, the only incentives are “deadlines and/or cash”. Menninger Decl., Ex. A, p. 12. Churcher

is not a journalist; she is a co-conspirator in Plaintiff’s publication of false statements regarding

numerous people including Prince Andrew, Alan Dershowitz and Ms. Maxwell. It is the denial

of the defamatory claims Churcher helped create that is the basis of this defamation suit. There

is no reporter shield over these factual matters that are not related to new gathering.

       D.      Churcher’s communications with Plaintiff’s Counsel and Law Enforcement
               are not news-gathering activities

       Churcher also admits to communicating regularly with Bradley Edwards, now Plaintiff’s

counsel, and other agents for Plaintiff, which communications continue through the present day.

See Churcher Decl., ¶¶ 9-10. Churcher is the person who initially put Plaintiff in contact with

Edwards. See Menninger Decl., Ex A, p. 7. Churcher coached Plaintiff on how to use Edwards

to provide information to reporters in a manner that would best help her book sales. See

Menninger Decl., Ex A, p. 51-58. According to Plaintiff, she regularly shared information from


                                                  7
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 10 of 21




Edwards with Churcher, although she could not specify the attorney-client privileged

information she shared. Menninger Decl. Ex. B, p. 297-300. None of the communications or

correspondence with Edwards, or any of Plaintiff’s other attorneys, are in a news gathering

capacity, and are not covered by the Shield Law.

        Likewise, Churcher apparently corresponded with the FBI and US Attorney’s office

regarding Plaintiff, and specifically states she is not acting in her journalistic capacity.

Menninger Decl. Ex A, 3. Communications that occurred that were not forwarded or copies to

Plaintiff have not been produced. Churcher specifically states that she would like to be treated as

a confidential source of information. Id., p. 8. She is not gathering news, she is attempting to

assist law enforcement and providing them with information she has gathered. First, this is not

news gathering activity, and clearly not related to confidential source. Even if there was some

claim of qualified privilege, having shared information with the FBI or other law enforcement,

there is a waiver of any protection of the Shield Law. See Guice-Mills v. Forbes, 12 Misc. 3d

852, 857, 819 N.Y.S.2d 432, 436 (Sup. Ct. 2006) (professional journalist waived the exemption

of the Shield Law if they voluntarily disclose or consent to disclosure of otherwise covered

information to third parties).

        None of the documents or information described above is covered by the New York

Shield Law because Churcher was not engaged in the news-gathering process. Regardless, there

is no proof that any of the information sought by Ms. Maxwell in the subpoena is confidential

information from a confidential source, nor was it intended kept confidential. The requested

information must be produced and Churcher deposed as her testimony is critical to the truth

defense in this case.




                                                   8
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 11 of 21




II.     THE ABSOLUTE PRIVILEGE OF THE SHIELD LAW IS NOT APPLICABLE
        BECAUSE THERE WAS NO EXPECTATION OF CONFIDENTIALITY

        As with all attempts to block the discovery of relevant information “[t]he burden rests

upon the [party invoking privilege] to demonstrate that the material is privileged.” People v.

Wolf, 39 A.D.2d 864, 864, 333 N.Y.S.2d 299, 301 (1972). “To successfully raise a claim of

privilege under this statute, the information must be imparted to the reporter under a ‘cloak of

confidentiality’. There had to be an understanding, express or implied, that the information will

not be disclosed” People v. Bova, 118 Misc. 2d 14, 19, 460 N.Y.S.2d 230, 233 (Sup. Ct. 1983);

Hennigan v. Buffalo Courier Express Co., Inc., 85 A.D.2d 924, 446 N.Y.S.2d 767 (“The

confidential relationship with the source must first be established in order to determine the

interest to be balanced against that of a civil litigant. Full disclosure is the general rule and the

burden of showing immunity from disclosure is on the party asserting it”); People v. LeGrand,

67 A.D.2d 446, 415 N.Y.S.2d 252; Matter of WBAI–FM v. Proskin, 42 A.D.2d 5, 344 N.Y.S.2d

393; Matter of Wolf, 39 A.D.2d 864, 333 N.Y.S.2d 299; Davis v. Davis, 88 Misc.2d 1, 386

N.Y.S.2d 992).

        Churcher admits that her conversations and communications with Plaintiff were not made

with any expectation of confidentiality. Indeed, quite the opposite. The express reason for the

communication was to obtain press coverage and to cause the publications of the series of

articles written and published by Churcher. Plaintiff was paid over $140,000 to go “on record.”

        With respect to any other “source” of information over which Churcher claims an

“absolute” privilege, there is no issue. Ms. Maxwell is not seeking this information. Ms.

Maxwell recognizes that there are occasions in which Churcher attributes information to a

confidential source. Ms. Maxwell does not seek to compel documents relating to these limited

individuals, to the extent the information and source was not later revealed, and will not question


                                                   9
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 12 of 21




Churcher on these sources except to determine if they have later been identified with their

permission. The undersigned informed Ms. Churcher’s counsel in their conferral that she would

not seek information relating to confidential sources.

        Respecting identified sources, Churcher fails to carry the burden of showing that there

was an expectation of confidentiality, which is her burden to carry. Indeed, in her declaration

she admits that she had conversations with Plaintiff’s attorney, Bradly Edwards, and law

enforcement agencies that were not intended to be kept confidential. See Churcher Decl. ¶¶ 9 &

11. In her articles, she specifically identifies the sources of her information, demonstrating the

lack of confidentiality. Plaintiff simply cannot carry the burden of claiming any absolute

privilege under 79-h(b).

III.    THERE IS A COMPELLING NEED FOR CHURCHER’S DOCUMENTS AND
        TESTIMONY

        Having failed to establish the essential element of confidentiality, Churcher attempts to

claim a qualified protection. Matter of Sullivan, 167 Misc. 2d 534, 538, 635 N.Y.S.2d 437, 440

(Sup. Ct. 1995) (source “had no understanding or expectation of confidentiality with either Mr.

Hurley or the police detectives regarding the viewing of the interrogation. Consequently, there is

no absolute privilege which protects the movant's materials, see Civil Rights Law § 79–h(b), and

therefore any protection that might be afforded to the journalistic material can only be of a

qualified nature.”). Churcher relies on qualified protection relating to non-published news

gathering information, which requires Ms. Maxwell make a clear and specific showing that the

information is: (1) highly material and relevant; and (2) critical or necessary to the litigant's

claim or defense; and (3) not obtainable from any alternative source. Matter of Sullivan, 167

Misc. 2d 534, 537-38, 635 N.Y.S.2d 437, 440 (Sup. Ct. 1995); Civil Rights Law 79–h (c). As

discussed above, this provision is only applicable where a journalist is acting in a news gathering


                                                  10
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 13 of 21




capacity. Ms. Maxwell proffers the following clear and specific showing establishing each of

these elements, requiring production of the information sought and deposition of Churcher.

        A.     The Information Sought from Churcher is Highly Material and Directly
               Relevant

        This is a case about whether or not allegations in the Joinder Motion were lies, in

particular the claims about Ms. Maxwell, Prince Andrew and Alan Dershowitz, which are the

specific items that were denied in Ms. Maxwell’s press release. The information sought from

Churcher is highly material in proving that that each time the story is told, new salacious details

are added – the alleged defamatory statement. Indeed, it could be the most probative evidence in

this case.

        “In determining whether the defendant has made a clear and specific showing that the

information sought is critical or necessary to [her] defense, this court should not ‘substitute its

judgment for a defendant's on the question whether such evidence is ‘necessary and critical’ to a

defense.” Matter of Sullivan, 167 Misc. 2d 534, 540, 635 N.Y.S.2d 437, 441 (Sup. Ct. 1995)

(quoting United States v. Sanusi, 813 F.Supp. 149, 160 (U.S.Dist.Ct.E.D.1992)).

        Starting with Ms. Maxwell, Churcher’s articles directly conflict with the allegations in

the Joinder Motion and Plaintiff’s testimony in this case. First, Churcher’s original article

reports the following regarding Plaintiff’s first visit to Mr. Epstein’s mansion:

        “I’d get training and be paid well. Virginia’s father gave his blessing, believing
        his daughter was being handed the opportunity to learn a skill and to work for a
        wealthy and respectable employer.
        He drove her to Epstein’s pink mansion on the Palm Beach waterfront . . .

        Virginia says: ‘Ghislaine said I was to start immediately and that someone would
        drive me home.

        My father left and I was told to go upstairs.’ She was led by another woman
        through Epstein’s bedroom into a massage room where he lay face down naked
        on a table.


                                                 11
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 14 of 21




       He started to interview Virginia. This was unconventional, but Virginia had no
       suspicions. Presumably, she thought, this was how the wealthy conducted their
       business.

       Epstein elicited the information that Virginia had been a runaway, and was no
       longer a virgin. Virginia was then told to start massaging Epstein, under the
       instructions of the woman who had shown her in. The massage quickly
       developed into a sexual encounter.

Churcher Decl., Ex. 2, p. 4/34; See also Churcher Decl., Ex. 5, p. 3/13.

       Churcher later reports that Ms. Maxwell hired girls for Epstein. In this story, she alleges

Ms. Maxwell escorted Plaintiff to meet Mr. Epstein, but nowhere claims that Ms. Maxwell

engaged in any sexual interaction with Plaintiff at any time. See Churcher Decl., Ex. 4, p.1-6.

       The Joinder Motion alleges that it was Ms. Maxwell that took Plaintiff to Mr. Epstein’s

room on her first visit to the mansion, and allegedly participated in a sexual interaction – a claim

never before made. Ex. C. Obviously, Churcher’s notes, interviews and recordings are directly

relevant to Plaintiff’s original story about Ms. Maxwell, and how it has changed and morphed

over time, as well as the motivation for those changes.

       The next allegation that has mutated with time in Churcher’s stories and in the Joinder

Motion relates to Plaintiff’s age when she first met Epstein and the amount of time she spent

working for him. In Churcher’s first story, she published that Plaintiff first met Epstein in 1998,

soon after her 15th birthday, and worked for him for four years. Churcher Decl., Ex. 1, p. 3/34;

Ex. 5, p. 2/31. The Joinder Motion alleges that Plaintiff met Epstein in 1999, when she was 15.

Both the year and the time of year are material to this case.

       Plaintiff now admits that she did not meet Epstein in 1999, but rather met him in 2000

which was the year she worked at the Mar-A-Lago. Plaintiff’s claims about meeting Epstein in

1998 or 1999, and her claim of being 15, are lies. Plaintiff still claims, however, that she was 16

years old at the time she met Epstein. Menninger Decl., Ex. B, p. 104. Despite efforts to obtain

                                                 12
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 15 of 21




records from the Mar-A-Lago, they have no records of Plaintiff’s dates of employment to

establish the timeframe. Churcher is a witness with information fixing the month when Plaintiff

claims to have met Epstein, i.e. soon after her birthday in August. In light of the now admitting

year – 2000 – Plaintiff would have been 17 at the time.

       Other highly relevant information in Churcher’s sole possession is the identification of

what documents and information Plaintiff was shown by Churcher, including flight logs,

pictures, or other witness statements. For instance, based on email correspondence, it appears

that Churcher was in possession of Epstein’s flight logs. There is no indication that Plaintiff had

seen those flight logs prior to meeting Churcher. Plaintiff never mentions certain names that

appear in the flight logs prior to Churcher’s meeting with her in February 2011. By way of

example, Bill Clinton is referenced in the flight logs. Before 2011, Plaintiff never mentioned or

references President Clinton. Yet, suddenly and out of thin air, Plaintiff allegedly reports to

Churcher in 2011 that she met Bill Clinton twice, and that Ms. Maxwell flew President Clinton

on a helicopter to Mr. Epstein’s Island – a story which has since been fully discredited as a lie.

This is simply one example of names and stories that were mysteriously added to Plaintiff’s

story, likely through Churcher’s suggestive questioning and presentation of documents to

Plaintiff. The only person who can testify on this highly relevant matter, including what

documents were shown to Plaintiff, is Churcher.

       Churcher also reported that Plaintiff was sent by Epstein (and Epstein alone) to meet with

men including “a well-known businessman (whose pregnant wife was asleep in the next room), a

world-renowned scientist, a respected liberal politician and a foreign head of state.” Churcher

Decl., Ex. 2, p. 5/34. By contrast, the Joinder Motion alleges “Epstein also trafficked Jane Doe

#3 [Plaintiff] for sexual purposes to many other powerful men, including numerous prominent



                                                 13
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 16 of 21




American politicians, powerful business executives, foreign presidents, a well-known Prime

Minister, and other world leaders.” Menninger Decl., Ex. C. Notably, Plaintiff has not identified

any foreign presidents, a prime minister, a foreign head of state, a world-renowned scientist or

numerous “prominent American Politicians” in her Rule 26 disclosures in this case. So the

question is, who did Plaintiff identify to Churcher in 2011, and how has that list changed and

expanded over time. Only Churcher can provide this information.

       Churcher’s publications in March of 2011 were the first publication containing the now

widely publicized picture of Plaintiff with Prince Andrew. Plaintiff was well paid for this picture,

and continued to get royalties on the reprints. Despite multiple requests, Plaintiff has not been

able to produce or provide the actual native version of the picture, or identify the specific date it

was taken. Given that Churcher was the first news source to print the picture, and later worked

with the FBI to provide information, she is likely the person who has the photo, or knows the

chain of custody of the picture. Either way, information including the date and location where

the picture was taken are relevant. Churcher is the only person who may be able to provide the

information to track down the picture, or may have it herself.

       The interview notes, recordings, memos and other documentation in Churcher’s

possession regarding Plaintiff are highly probative, material and directly relevant to Plaintiff’s

fabrication and expansion of claims. For instance, if Plaintiff specifically told Churcher that she

only met, but did not have sexual relations with, Prince Andrew in early 2001, the statement in

the Joinder Motion is a lie. Given that Churcher reported that there is “no indication of sexual

interaction with Prince Andrew,” in 2011 only Churcher can provide testimony or notes

reflecting the basis for that published statement.




                                                  14
        Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 17 of 21




         B.     Churcher’s documents and testimony are critical to Ms. Maxwell’s truth
                defense and Plaintiff’s claims

         As stated in the Motion to Quash, the “highly relevant” and “critical or necessary to the

litigant's claim or defense” prongs of the test for overcoming a qualified privilege largely

overlap. In this single count defamation action, this is particularly true. As can be seen by the

clear and specific showing above, all of the information sought from Churcher is critical to the

defense of substantial truth.

         It is well settled that truth is an absolute defense to a claim of defamation. “Under New

York law, it is well-settled that truth is an absolute, unqualified defense to a civil defamation

action. It is an equally fundamental concept that substantial truth suffices to defeat a charge of

libel.” Jewell v. NYP Holdings, Inc., 23 F. Supp. 2d 348, 366 (S.D.N.Y. 1998) (internal

quotations and citations omitted). In examining the role of Churcher’s testimony and documents

to this defense, it is important to look at the actual text of that press statement::

         Each time the story is re told it changes with new salacious details about public
         figures and world leaders and now it is alleged by Ms. Roberts that Alan
         Dershowitz is involved in having sexual relations with her, which he denies.

         Ms. Roberts claims are obvious lies and should be treated as such and not
         publicized as news, as they are defamatory.

Ex. D

         As demonstrated above, Ms. Churcher’s documents and testimony are critical to

establishing the fact that each time Plaintiff has told her story it changes and new salacious

details are added.

         Likewise, Churcher admits that her testimony is relevant to Plaintiff’s credibility. While

a journalist testimony relating to impeachment or credibility of a party may not normally be

critical, it is here. Plaintiff’s credibility, or lack thereof, is the central issue in the case. This is

not merely impeachment evidence, it is the crux of the case. If Plaintiff is a “liar” defense of
                                                    15
       Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 18 of 21




truth is established. Likewise, it establishes that there can be no damages caused by the alleged

defamatory statement. Again, Churcher’s documents and testimony are central to this issue.

         C.       Churcher’s information cannot be obtained from an alternative source.

         Churcher claims that there are other sources for the information sought, citing almost

exclusively the Plaintiff as the potential source of information. This argument is flawed for two

reasons. First, Plaintiff claims that she does not have much of the information sought, or simply

can’t remember. In her deposition, she said she cannot remember where the photograph is,

where the contract is, what she told Churcher, and she refused upon advice of counsel, to state

what stories Churcher “got wrong.” See Motion to Re-Open Deposition of Plaintiff. Second, as

the direct adversary in this case, Plaintiff is not a reliable source for information, and thus cannot

be deemed an alternative source. Matter of Sullivan, 167 Misc. 2d 534, 541, 635 N.Y.S.2d 437,

442 (Sup. Ct. 1995) (compelling journalist notes, records, and videotapes of interrogation where

claimed alternative source of information – detectives conducting the interrogation – were

adversaries and thus could not be deemed the reliable source for information)

         For most information, Churcher is the only source of the information sought. She is the

only person who can provide the following information and documents:

              x   The 24 page fabricated diary, and testimony on when and why it was created5
              x   Notes, transcriptions, tape recordings, and memorandum from her interviews with
                  Plaintiff, including her week long interviews in Australia;6
              x   Churcher’s communications with law enforcement or the FBI concerning
                  Plaintiff;7

5 Plaintiff contends that she gave the original to Churcher, and did not maintain a copy. Ex B, p. 229.
6 Plaintiff has produced some email communications with Churcher, although in light of Plaintiff’s statements
concerning the regular deletion of emails, there are likely email communications that were not captured by Plaintiff
in Ms. Churcher’s possession or control. Nevertheless, to minimize the burden, Ms. Maxwell will voluntarily limit
documents containing communication with Plaintiff by eliminating email communications between Plaintiff and
Churcher using Plaintiff’s Jane Doe 2                  address. Because Plaintiff did not produce documents from her
hotmail account and only recently produced documents from her iCloud account, Ms. Maxwell requests that
Churcher search for documents to or from Plaintiff at these two email address.
7 Ms. Maxwell has filed a FOIA request and had not received a response.

                                                         16
      Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 19 of 21




            x Plaintiff’s contract with the Mail on Sunday, which Plaintiff claims she no longer
            ■     8
                 has;
                 1111
            x    The original Prince Andrew picture, or information on its chain of custody;
            x    Communications with Brad Edwards and other attorneys for Plaintiff9

        From a testimonial standpoint, only Churcher can testify about the deviations in the

stories she has heard from Plaintiff because only Churcher was there. Plaintiff herself claims she

cannot remember what she told Churcher at various points in time, and herself asked Churcher

for the notes from her interview so Plaintiff could remember what she said. Menninger Decl.,

Ex. A, p. 26. Plaintiff further refused to testify about what information Churcher printed that

was untrue or varied from what Plaintiff told Churcher. Menninger Decl., Ex. B, p. 215-226.

Thus, the only person who can testify or provide documentary evidence about Plaintiff’s stories

to Churcher is Churcher.

        In light of the critical nature of the documents and testimony in establishing the truth

defense and the fact that the information simply is not available from other sources, Churcher is

not entitled to claim qualified privilege over her news-gathering materials or non-published non-

confidential information.

IV.     MS. MAXWELL’S COUNSEL AGREED TO EXTEND THE RETURN DATE
        FOR COMPLIANCE WITH THE SUBPOENA

        Churcher’s final argument for a Protective Order – that there was not a reasonable time to

respond – is defeated by the admission in her own pleading. It is true that the original response

date was twelve days after service – two days less than is considered presumptively

“reasonable.” Ms. Maxwell’s counsel readily agreed that if Churcher intended to respond and

comply with the subpoena rather than moving to quash, that the response date would be extended


8 Ex. 247-248
9 This information had been requested in discovery to Plaintiff, but no documents have been produced. Ms.
Maxwell has also subpoenaed the information from Plaintiff’s attorneys, each of whom has moved to quash. There
can be no question that Ms. Maxwell has exhausted every possible source for obtaining this information.

                                                      17
     Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 20 of 21




and the deposition would be scheduled at a mutually agreeable time. As such, there is no basis

for quashing the subpoena based on the “unreasonable time” argument, as Churcher was on

notice that she would be given the time needed to obtain the documents requested. In light of the

discovery cut-off in this case, however, if a motion to quash was forthcoming, the matter needed

to be resolved to permit completion of discovery.

       WHEREFORE, for the forgoing reasons, Ms. Maxwell requests that the Court deny the

Motion to Quash, and compel deposition and the Production of Documents by Sharron Churcher

pursuant to the subpoena, as modified by footnote 6 herein.

Dated: June 22, 2016



                                                Respectfully submitted,



                                                /s/ Laura A. Menninger
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                                               18
     Case 1:15-cv-07433-LAP Document 1325-1 Filed 01/04/24 Page 21 of 21




                              CERTIFICATE OF SERVICE

I certify that on June 22, 2016, I electronically served this RESPONSE TO NON-PARTY
SHARON CHURCHER MOTION TO QUASH SUBPOENA via ECF on the following:

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                                            19
